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                                                                   Mi d dl e Distri ct of Fl ori d a


   A N D A L E P U B LI S HI N G, L L C a n d S T E P H A NI E
                          D U C A S S E,




  I N D E P E N D E N T M E DI A A S S O CI A T E S, I N C., t h e
s u c c e s s or i n i nt er e st t o D A T A S CI E N C E C E N T R A L,
                                      LL C




                                           Ti m ot h y M att e s o n
                                           I n d e p e n d e nt M e di a A s s o ci at e s, I n c.
                                           1 0 5 3 6 P ut n e y R o a d
                                           L o s A n g el e s, C A 9 0 0 6 4




                                           L a ur e n E. J o h n s o n, Fl a. B ar N o. 1 1 2 0 2 7
                                           R a bi n K a m m er er J o h n s o n
                                           1 6 0 1 F or u m Pl a c e, S uit e 2 0 1
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                                           ( 5 6 1) 6 5 9- 7 8 7 8
                                           lj o h n s o n @r kjl a w gr o u p. c o m
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Pri nt          S a v e A s...                                       R e s et
